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     Attorneys for Defendant
6    EFAME CRUMBY
7                                  UNITED STATES DISTRICT COURT
8                                 EASTERN DISTRICT OF CALIFORNIA
9                                        SACRAMENTO VENUE
10   UNITED STATES OF AMERICA,                )                NO. CR-03-0391 DFL
                                              )
11         Plaintiff,                         )                STIPULATION AND ORDER
                                              )                EXONERATING BOND
12   vs.                                      )
                                              )
13   EFAME CRUMBY,                            )
                                              )
14         Defendant.                         )
     _________________________________________)
15

16          Defendant EFAME CRUMBY, by and through his attorney, Dustin Gordon, and the United
17   States, by and through Assistant United States Attorney Kenneth Melikian, hereby stipulate and
18
     agree to exoneration of bond in this case. On March 16, 2006, Judge Levi remanded defendant
19
     EFAME CRUMBY to the custody of the United States Marshall until the time of his sentencing.
20
     DATED: April 13, 2006                       /s/ DUSTIN GORDON
21                                               Attorney for Defendant EFAME CRUMBY
22   DATED: April 13, 2006                       /s/ KENNETH MELIKIAN
                                                 Assistant United States Attorney
23

24          Based on the reasons provided in the stipulation of the parties above, the Court hereby

25   orders that bond be exonerated.

26   DATED: 4/17/2006

27                                               ______________________________
                                                 DAVID F. LEVI
28                                               United States District Judge




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